 Case 2:19-ml-02905-JAK-FFM Document 131 Filed 06/11/20 Page 1 of 17 Page ID #:3810



1    KIRKLAND & ELLIS LLP
2    Matthew T. Regan, P.C. (pro hac vice)
     mregan@kirkland.com
3    300 North LaSalle
4    Chicago, IL 60654
     Telephone: 312-862-2000
5    Facsimile: 312-862-2200
6
     Counsel for TRW Automotive, Inc., ZF North
7    America, Inc., ZF TRW Automotive Holdings
     Corp., ZF Active Safety and Electronics U.S. LLC,
8
     ZF Passive Safety Systems U.S. Inc.,
9    ZF Friedrichshafen AG, and ZF Holdings B.V.
10
     (additional counsel listed below)
11
12                          UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
13
     In re: ZF-TRW Airbag Control Units )      Case No.: 2:19-ml-02905-JAK-FFM
14   Products Liability Litigation      )
15                                      )      MDL No. 2905
     ALL CASES                          )
16                                      )      Judge: John A. Kronstadt
17                                      )
                                        )      JOINT STATUS REPORT
18                                      )      REGARDING PROPOSALS
19                                      )      FOR RULE 12(b) MOTIONS
                                        )
20                                      )
21
22
23
24
25
26
27
28
 Case 2:19-ml-02905-JAK-FFM Document 131 Filed 06/11/20 Page 2 of 17 Page ID #:3811



1          Pursuant to Section II of the Joint Status Report filed by the parties on June 1, 2020
2    (ECF 128), the Parties1 submit this Joint Status Report regarding their collective and/or
3    respective proposals regarding the procedures and page limits for briefing related to
4    motions pursuant to Federal Rule of Civil Procedure 12(b).2
5    I.    Briefing Schedule
6          Pursuant to Paragraphs 13-15 of the Court’s Order Following February 24, 2020
7    Case Management Conference (ECF 106), the Court has already established the
8    following schedule for Rule 12(b) briefing:
9          • Defendants who have been properly served the Consolidated Complaint (or
10           who have agreed to waive such service) shall file their Motions to Dismiss the
             Consolidated Complaint under Rule 12(b) no later than July 27, 2020.
11
12         • Plaintiffs shall file their oppositions to any Rule 12(b) motions no later than
             September 25, 2020.3
13
14         • Defendants shall file their replies in support of any Rule 12(b) motions no later
             than November 9, 2020.
15
16         Pursuant to Paragraph 16 of that Order, the parties understand that the Court will

17   discuss scheduling a hearing on Rule 12(b) motions at the June 15 Case Management

18
19
     1
       Defendants Fiat Chrysler Automobiles, N.V.; Mitsubishi Motors Corporation; Mobis
20   Parts America, LLC; STMicroelectronics N.V.; STMicroelectronics International N.V.;
21   and STMicroelectronics Inc. did not participate in the preparation of this joint report
     because Plaintiffs named them as Defendants for the first time in their May 26, 2020
22   Consolidated Complaint and have not effectuated service yet.
23   2
       Defendants state that by participating in the process of meeting and conferring and
24   preparing this joint report, they do not waive, and expressly reserve, the right to challenge
25   this Court’s personal jurisdiction as to the claims made by any Plaintiff or class.
     3
26     Plaintiffs reserve the right to seek jurisdictional discovery and an extension of the
     briefing schedule to complete that discovery if Defendants raise any Rule 12(b)(2)
27   arguments. Any relief Plaintiffs seek will not affect the briefing schedule with respect to
28   any arguments Defendants make under Rule 12(b)(6).

                                                   2
 Case 2:19-ml-02905-JAK-FFM Document 131 Filed 06/11/20 Page 3 of 17 Page ID #:3812



1    Conference, but anticipates scheduling the hearing at its first available date 30 days after
2    filing of Defendants’ replies.
3    II.   Proposed Procedures and Page Limits for Briefing Rule 12(b) Motions
4          The Parties4 propose that Rule 12(b) briefing proceed as follows:
5          A.     Defendants’ (Other than FCA US LLC) Proposal:
6                 1.     Defendants’ Rule 12 Motions and Opening Briefs.
7                        a.    Each Defendant Group5 intends to move to dismiss the
8                              Consolidated Complaint pursuant to Rule 12(b)(2) and/or
                               12(b)(6).
9
10                       b.    Defendants will file a joint brief in support of Rule 12(b)(6)
                               motions of no more than 50 pages.
11
                         c.    Each Defendant Group may also file a supplemental brief in
12                             support of its Rule 12(b)(6) motion as well as an individual
13                             brief in support of its Rule 12(b)(2) motion. Such briefs shall
14   4
       Defendant FCA US LLC does not join in this proposal and sets forth its separate
15   proposal below.
16   5
       The Defendant Groups are as defined in the bullets on pages 2-3 of the January 21, 2010
17   Joint Preliminary Report for the February 24, 2020 Initial Conference (ECF 80).
     Affiliates of the Defendants listed in that report who were named as Defendants for the
18   first time in the Consolidated Class Action Complaint shall be part of the appropriate
19   Defendant Group with the exception of those Defendants not yet served as set forth in
     footnote 1 above.
20
21   For clarity, the Defendant Groups would therefore consist of: (i) the ZF TRW
     Defendants, (ii) the STMicro Defendants (if served) (as defined in Paragraph 36 of the
22   Consolidated Class Action Complaint), (iii) the FCA US LLC, (iv) the Honda
23   Defendants, (v) the Hyundai and Kia Defendants, (vi) the Hyundai Mobis Defendants,
     (vii) the Mitsubishi Defendants, and (viii) the Toyota Defendants.
24
     With regard to the Hyundai Mobis Defendants, Hyundai Mobis Co., Ltd. (“Hyundai
25   Mobis”) requests that it (and Mobis Parts America, LLC when served) be treated as a
26   separate Defendant Group. Hyundai Mobis believes that, in certain respects, it is
     positioned differently from the OEMs in the context of this litigation, and that separate
27   briefing is required for Hyundai Mobis to present legal arguments that are unique to its
28   role as a non-U.S. automotive equipment manufacturer.

                                                  3
 Case 2:19-ml-02905-JAK-FFM Document 131 Filed 06/11/20 Page 4 of 17 Page ID #:3813



1                             be filed separately and shall not exceed 30 pages collectively
2                             per Defendant Group to be allocated between the two briefs in
                              the manner of its choosing.
3
                 2.     Plaintiffs’ Opposition Briefs.
4
5                       a.    Plaintiffs will file a single brief in opposition to all Rule
                              12(b)(2) motions and a single brief in opposition to all Rule
6                             12(b)(6) motions.
7
                        b.    Plaintiffs shall have 250 pages for the two briefs, which they
8                             may allocate in the manner of their choosing.
9                3.     Defendants’ Replies.
10
                        a.    Defendants will file a joint reply in support of Rule 12(b)(6)
11                            motions of no more than 25 pages.
12                      b.    Each Defendant Group may file a supplemental reply in support
13                            of its Rule 12(b)(2) and 12(b)(6) motions. Such replies shall be
                              filed separately and shall not exceed 20 pages collectively per
14                            Defendant Group to be allocated between the two briefs in the
15                            manner of its choosing.
16
           Defendants (other than FCA US LLC) believe these proposed page limits are
17
     reasonable given the length and the number of legal issues raised in the Consolidated
18
     Complaint. This is not a typical case. Plaintiffs filed a 564-page Complaint with almost
19
     2,600 numbered paragraphs. In that Complaint, Plaintiffs allege six different civil RICO
20
     enterprises, nationwide fraud and unjust enrichment claims, and claims under the
21
     warranty, consumer protection, or unfair trade practices statutes of 28 states—all against
22
     eight separate corporate groups.     Plaintiffs identify sixty-six consumers as named
23
     Plaintiffs, many of whom filed suit in jurisdictions where there is no general or specific
24
     personal jurisdiction over one or more of the Defendants. And Plaintiffs bring claims
25
     against at least 10 foreign entities over which personal jurisdiction is lacking in the
26
     United States.
27
           Defendants have worked diligently to agree on issues that could be briefed jointly
28
     and are committed to briefing the issues as efficiently as possible. But briefing all the
                                                4
 Case 2:19-ml-02905-JAK-FFM Document 131 Filed 06/11/20 Page 5 of 17 Page ID #:3814



1    relevant legal and jurisdictional flaws in a complaint with the size and scope of the one
2    the Plaintiffs filed will take a significant number of pages. No Defendant Group could
3    adequately brief all of the Rule 12(b)(2) and Rule 12(b)(6) issues with the allegations
4    against them in a 25-page opening brief and a 10-page reply as Plaintiffs propose.
5              There is likewise nothing unreasonable about Defendants requesting more pages
6    than the Plaintiffs. Not only have the Plaintiffs already had 564 pages to lay out their
7    allegations and legal theories, but the moving party always receives more pages than the
8    party opposing a motion. Under this Court’s standing order, the moving party receives
9    40% more pages than the non-moving party by virtue of its reply brief. Defendants thus
10   believe 250 pages is more than enough for Plaintiffs to respond to the motions to dismiss
11   the Defendants will file, but would not oppose giving Plaintiffs the same number of pages
12   for their opposition briefs as Defendants request for their opening briefs (290 pages in
13   total).
14             B.   Defendant FCA US’s Proposal:
15                  FCA US LLC proposes that Rule 12(b) briefing proceed as follows:
16                  1.    Defendants’ Rule 12 Motions and Opening Briefs.
17                        a.    Defendants will file a joint brief in support of their Rule
18                              12(b)(6) motion to dismiss Plaintiffs’ RICO claims of no more
                                than 25 pages.
19
20                        b.    Each Defendant Group may also file a brief in support of its
                                Rule 12(b)(6) motion as well as an individual brief in support of
21                              its Rule 12(b)(2) motion. Such briefs shall be filed separately
22                              and shall not exceed 50 pages collectively per Defendant Group
                                to be allocated between the two briefs in the manner of each
23                              Defendant’s choosing.
24                  2.    Plaintiffs’ Opposition Briefs.
25
                          a.    Plaintiffs will file a single brief in opposition to all Rule
26                              12(b)(2) motions and a single brief in opposition to all Rule
27                              12(b)(6) motions.

28
                                                   5
 Case 2:19-ml-02905-JAK-FFM Document 131 Filed 06/11/20 Page 6 of 17 Page ID #:3815



1                       b.     FCA US takes no position on the number of pages that
2                              Plaintiffs believe they might need for their opposition briefing.

3                 3.    Defendants’ Replies.
4                       a.     Defendants will file a joint reply in support of their Rule
5                              12(b)(6) motion to dismiss Plaintiffs’ RICO claims of no more
                               than 15 pages.
6
                        b.     Each Defendant Group may file a supplemental reply in support
7
                               of its Rule 12(b)(2) and 12(b)(6) motions. Such replies shall be
8                              filed separately and shall not exceed 30 pages collectively per
                               Defendant Group to be allocated between the two briefs in the
9
                               manner of each Defendant’s choosing.
10
11         FCA US states that the number of pages requested in this proposal is entirely

12   reasonable considering the number of plaintiffs, claims, and states’ laws put at issue in

13   Plaintiffs’ Consolidated Complaint. In the 564-page Complaint, Plaintiffs assert more

14   than 50 claims against FCA US on behalf of 14 individuals, invoking the laws of 11

15   states, and plead a claim for an alleged RICO violation. In addition to needing to address

16   these claims in a Rule 12(b)(6) motion, FCA US has Rule 12(b)(2) arguments as to many

17   of the plaintiffs. If this were a case where FCA US was responding to a 560+ page

18   complaint with numerous plaintiffs, claims and states’ laws at issue, there would likely be

19   no dispute that 50 pages is reasonable. The fact that Plaintiffs chose to combine the

20   claims against FCA US with claims they are asserting against 27 other defendants in a

21   single complaint should not be used as a reason to justify prejudicing FCA US’s ability to

22   properly defend itself. This only encourages Plaintiffs to use pleading tactics like this to

23   prejudice defendants’ ability to meaningfully respond.

24         C.     Plaintiffs’ Proposal

25         Defendants cannot agree among themselves as to an appropriate number of pages

26   for Rule 12(b) motions. What is clear, however, is that Defendants seek to substantially

27   enlarge the page limits they would typically receive under this Court’s Standing Order for

28   Civil Cases (the “Standing Order”) while affording Plaintiffs no proportional

                                                  6
 Case 2:19-ml-02905-JAK-FFM Document 131 Filed 06/11/20 Page 7 of 17 Page ID #:3816



1
     enlargement. The Defendants’ proposals are not only unfair, they are excessive and
2
     unwarranted.
3
           Defendant FCA US LLC proposes a total of 680 pages for Defendants’ moving
4
     and reply papers, and “takes no position” on the number of pages for Plaintiffs’
5
     opposition. The remaining Defendants propose a total of 475 pages for their motion and
6
     reply papers, and 250 pages for Plaintiffs’ opposition. While this litigation includes a
7
     large number of Defendants and affected vehicles, the legal issues to be decided on a
8
     Rule 12 motion here are neither unique nor complicated enough to warrant nearly 1,000
9
     pages of briefing. Indeed, courts routinely adjudicate these types of legal issues in
10
     complex, multi-party cases without enlarging the page limits imposed by the Local Rules
11
     or Standing Orders. In this regard, this Court’s Standing Orders makes clear that moving
12
     papers shall not exceed 25 pages, oppositions shall not exceed 25 pages, and replies shall
13
     not exceed 10 pages. In other words, in this Court, a moving party is typically given 35
14
     pages and an opposing party 25 pages. Applying these limitations to each of the eight
15
     Defendant Groups would provide the Defendants with a total of 280 pages and the
16
     Plaintiffs with a total of 200 pages. Such page limits are more than sufficient for the
17
     Court to evaluate Defendants' Rule 12(b) arguments.
18
           Defendants’ reliance on the length of the Complaint is unpersuasive. Complaints
19
     commonly exceed the page limit for 12(b) motions, especially where, as here Rule 9(b)
20
     applies to some of the claims for relief. Moreover, much of the length of the Complaint
21
     is attributable to the large number of parties and state laws involved rather than the
22
     substantive factual allegations underlying the claims. See ECF No. 119 at pp. 6-57
23
     (stating basic identifying facts about the parties); id. at pp. 263-562 (pleading a similar
24
     handful of claims under laws of multiple states). Defendants’ challenges under Rule
25
     12(b) will likely focus on the adequacy of the substantive factual allegations of the
26
     Complaint      and   not   differ   materially   from   state   to   state   or   plaintiff   to
27
     plaintiff. Accordingly, the pages devoted to the different state laws and identification of
28
     the parties are not relevant to the Court’s decision on reasonable page limits.
                                                   7
 Case 2:19-ml-02905-JAK-FFM Document 131 Filed 06/11/20 Page 8 of 17 Page ID #:3817



1
           Nevertheless, if the Court is inclined to enlarge Defendants’ page limitations over
2
     and above the 280 pages currently allowed under this Court’s Standing Order, Plaintiffs
3
     respectfully request that the Court grant a proportional enlargement of Plaintiffs’
4
     opposition page limit, in accordance with this Court’s Standing Order.
5
6
7
           The parties will be prepared to address these proposals at the June 15 Status
8
     Conference.
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                 8
 Case 2:19-ml-02905-JAK-FFM Document 131 Filed 06/11/20 Page 9 of 17 Page ID #:3818



1    DATED: June 11, 2020              Respectfully submitted,
2
                                       /s/ Matthew T. Regan, P.C.
3                                      KIRKLAND & ELLIS LLP
4                                      Mark C. Holscher (SBN 139582)
                                       mark.holscher@kirkland.com
5                                      555 South Flower Street
6                                      Los Angeles, CA 90071
                                       Telephone: 213-680-8400
7                                      Facsimile: 213-680-8500
8
                                       Tammy A. Tsoumas (SBN 250487)
9
                                       tammy.tsoumas@kirkland.com
10                                     2049 Century Park East, Suite 3700
                                       Los Angeles, CA 90067
11
                                       Telephone: 310-552-4200
12                                     Facsimile: 310-552-5900
13
                                       Matthew T. Regan, P.C. (pro hac vice)
14                                     mregan@kirkland.com
                                       300 North LaSalle
15
                                       Chicago, IL 60654
16                                     Telephone: 312-862-2000
                                       Facsimile: 312-862-2200
17
18                                     Judson Brown, P.C. (pro hac vice)
                                       jdbrown@kirkland.com
19
                                       Michael A. Glick (pro hac vice)
20                                     michael.glick@kirkland.com
                                       Jason Wilcox (pro hac vice)
21
                                       jason.wilcox@kirkland.com
22                                     1301 Pennsylvania Avenue, N.W.
23                                     Washington, D.C. 20004
                                       Telephone: 202-389-5000
24                                     Facsimile: 202-389-5200
25
                                       Counsel for TRW Automotive, Inc., ZF
26                                     North America, Inc., ZF TRW Automotive
27                                     Holdings Corp., ZF Active Safety and
                                       Electronics U.S. LLC, and ZF Passive
28                                     Safety Systems U.S. Inc.
                                            9
     Case 2:19-ml-02905-JAK-FFM Document 131 Filed 06/11/20 Page 10 of 17 Page ID
                                      #:3819


1
2                                       /s/ Eric Mattson
                                        SIDLEY AUSTIN LLP
3
                                        Lisa M. Gilford (SBN 171641)
4                                       lgilford@sidley.com
                                        Stacy Horth-Neubert (SBN 214565)
5
                                        shorthneubert@sidley.com
6                                       555 West Fifth Street
                                        Los Angeles, CA 90013
7
                                        Telephone: 213-896-6000
8                                       Facsimile: 213-896-6600
9
                                        Eric S. Mattson
10                                      emattson@sidley.com
11                                      One South Dearborn Street
                                        Chicago, IL 60603
12                                      Telephone: 312-853-7000
13                                      Facsimile: 312-853-7036

14                                      Counsel for American Honda Motor Co.,
15                                      Inc., Honda of America Mfg., Inc., and
                                        Honda R&D Americas, Inc.
16
17
18
19
20
21
22
23
24
25
26
27
28
                                            10
     Case 2:19-ml-02905-JAK-FFM Document 131 Filed 06/11/20 Page 11 of 17 Page ID
                                      #:3820


1                                       /s/ Christopher M. Young
2                                       DLA PIPER LLP (US)
                                        Christopher M. Young (SBN 163319)
3
                                        christopher.young@dlapiper.com
4                                       Michelle Chung (SBN 312833)
                                        michelle.chung@dlapiper.com
5
                                        2000 Avenue of the Stars
6                                       Suite 400 North Tower
                                        Los Angeles, CA 90067
7
                                        Telephone: 310-595-3000
8                                       Facsimile: 310-595-3300
9
                                        Matthew A. Goldberg
10                                      mathew.goldberg@dlapiper.com
11                                      Nathan P. Heller
                                        nathan.heller@dlapiper.com
12                                      One Liberty Place
13                                      1650 Market Street
                                        Suite 5000
14                                      Philadelphia, PA 19103
15                                      Telephone: 215-656-3300
                                        Facsimile: 215-656-3301
16
17                                      Counsel for Hyundai Mobis Co., Ltd.

18
19
20
21
22
23
24
25
26
27
28
                                            11
     Case 2:19-ml-02905-JAK-FFM Document 131 Filed 06/11/20 Page 12 of 17 Page ID
                                      #:3821


1                                       /s/ Lance A. Etcheverry
2                                       SKADDEN, ARPS, SLATE,
                                        MEAGHER & FLOM LLP
3
                                        Lance A. Etcheverry (SBN 199916)
4                                       lance.etcheverry@skadden.com
                                        Caroline Van Ness (SBN 281675)
5
                                        caroline.vanness@skadden.com
6                                       Matthew J. Tako (SBN 307013)
                                        matthew.tako@skadden.com
7
                                        525 University Avenue, Suite 1400
8                                       Palo Alto, CA 94301
9                                       Telephone: 650-470-4500
                                        Facsimile: 650-470-4570
10
11                                      John Beisner (SBN 81571)
                                        john.beisner@skadden.com
12                                      1440 New York Avenue N.W.
13                                      Washington, D.C. 20005
                                        Telephone: 202-371-7000
14                                      Facsimile: 202-393-5760
15
                                        Counsel for Hyundai Motor America, Inc.
16                                      and Kia Motors America, Inc.
17
18
19
20
21
22
23
24
25
26
27
28
                                            12
     Case 2:19-ml-02905-JAK-FFM Document 131 Filed 06/11/20 Page 13 of 17 Page ID
                                      #:3822


1                                       /s/ Michael Mallow
2                                       SHOOK, HARDY & BACON LLP
                                        Michael Mallow
3
                                        mmallow@shb.com
4                                       Rachel Straus
                                        rstraus@shb.com
5
                                        2049 Century Park East, Suite 3000
6                                       Los Angeles, CA 90067
                                        Telephone: 424-285-8330
7
                                        Facsimile: 424-204-9093
8
9                                       Amir Nassihi
                                        anassihi@shb.com
10                                      One Montgomery, Suite 2600
11                                      San Francisco, CA 94104
                                        Telephone: 415-544-1900
12                                      Facsimile: 415-391-0281
13
                                        BOWMAN AND BROOKE LLP
14                                      Vincent Galvin (SBN 104448)
15                                      vincent.galvin@bowmanandbrooke.com
                                        1741 Technology Drive, Suite 200
16                                      San Jose, CA 95110
17                                      Telephone: 408-279-5393
                                        Facsimile: 408-279-5845
18
19                                      Mark V. Berry (SBN 70162)
                                        mark.berry@bowmanandbrooke.com
20                                      970 West 190th Street, Suite 700
21                                      Torrance, CA 90502
                                        Telephone: 310-768-3068
22                                      Facsimile: 310-719_1019
23
                                        Counsel for Toyota Motor North America,
24                                      Inc., Toyota Motor Sales, U.S.A., Inc.,
25                                      Toyota Motor Engineering &
                                        Manufacturing North America, Inc.
26
27
28
                                            13
     Case 2:19-ml-02905-JAK-FFM Document 131 Filed 06/11/20 Page 14 of 17 Page ID
                                      #:3823


1                                       /s/ Brandi L. Burke
2                                       THOMPSON COBURN LLP
                                        Kathy A. Wisniewski
3
                                        kwisniewski@thompsoncoburn.com
4                                       Stephen A. D’Aunoy
                                        kwisniewski@thompsoncoburn.com
5
                                        Thomas L. Azar, Jr.
6                                       tazar@thompsoncoburn.com
                                        Brandi L. Burke
7
                                        bburke@thompsoncoburn.com
8                                       One US Bank Plaza
9                                       St. Louis, MO 63101
                                        Telephone: 314-552-6000
10                                      Facsimile: 314-552-7000
11
                                        Kacey R. Riccomini (SBN 292340)
12                                      kriccomini@thompsoncoburn.com
13                                      2029 Century Park East, Suite 1900
                                        Los Angeles, CA 90067
14                                      Telephone: 310-282-2500
15                                      Facsimile: 310-282-2501

16                                      Counsel for FCA US LLC
17
18                                      /s/ Douglas W. Robinson
19                                      PALMIERI, TYLER, WIENER,
                                        WILHELM & WALDRON LLP
20
                                        Douglas W. Robinson (SBN 255909)
21                                      drobinson@ptwww.com
                                        Christopher J. Green (SBN 295874)
22
                                        cgreen@ptwww.com
23                                      1900 Main Street, Suite 700
                                        Irvine, CA 92614
24
                                        Telephone: 949-851-9400
25                                      Facsimile: 949-825-5401
26
                                        Counsel for Mitsubishi Motors North
27                                      America, Inc.
28
                                            14
     Case 2:19-ml-02905-JAK-FFM Document 131 Filed 06/11/20 Page 15 of 17 Page ID
                                      #:3824


1                                       /s/ Roland Tellis
2                                       BARON & BUDD, P.C.
                                        Roland Tellis (SBN 186269)
3
                                        rtellis@baronbudd.com
4                                       David Fernandes (SBN 280944)
                                        dfernandes@baronbudd.com
5
                                        Adam Tamburelli (SBN 301902)
6                                       atamburelli@baronbudd.com
                                        15910 Ventura Boulevard, Suite 1600
7
                                        Encino, CA 91436
8                                       Telephone: 818-839-2333
9                                       Facsimile: 818-986-9698

10                                      LIEFF CABRASER HEIMANN &
11                                      BERNSTEIN, LLP
                                        David Stellings (pro hac vice)
12                                      dstellings@lchb.com
13                                      John T. Nicolaou (pro hac vice)
                                        jnicolaou@lchb.com
14                                      Katherine McBride
15                                      kmcbride@lchb.com
                                        250 Hudson Street, 8th Floor
16                                      New York, New York 10013-1413
17                                      Telephone: 212.355.9500

18                                      LIEFF CABRASER HEIMANN &
19                                      BERNSTEIN, LLP
                                        Elizabeth J. Cabraser (SBN 83151)
20                                      ecabraser@lchb.com
21                                      Nimish R. Desai (SBN 244953)
                                        ndesai@lchb.com
22                                      275 Battery Street, 29th Floor
23                                      San Francisco, CA 94111-3339
                                        Telephone: 415.956.1000
24
25                                      Co-Lead Counsel for Plaintiffs

26
27
28
                                            15
     Case 2:19-ml-02905-JAK-FFM Document 131 Filed 06/11/20 Page 16 of 17 Page ID
                                      #:3825


1                             SIGNATURE OF CERTIFICATION
2          Pursuant to Civil L.R. 5-4.3.4(a)(2)(i), the filer attests that all other signatories
3    listed, and on whose behalf the filing is submitted, concur in the filing’s content and have
4    authorized the filing.
5
6    DATED: June 11, 2020                   /s/ Matthew T. Regan P.C.
                                            Counsel for TRW Automotive, Inc., ZF
7                                           North America, Inc., ZF TRW Automotive
8                                           Holdings Corp., ZF Active Safety and
                                            Electronics U.S. LLC, and ZF Passive
9                                           Safety Systems U.S. Inc.
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
     Case 2:19-ml-02905-JAK-FFM Document 131 Filed 06/11/20 Page 17 of 17 Page ID
                                      #:3826


1                               CERTIFICATE OF SERVICE
2          I certify that on June 11, 2020, a copy of the foregoing JOINT STATUS REPORT
3    REGARDING PROPOSALS FOR RULE 12(b) MOTIONS was served electronically
4    through the Court’s electronic filing system upon all parties appearing on the Court’s
5    ECF service list.
6
7    DATED: June 11, 2020                /s/ Matthew T. Regan P.C.
                                         Counsel for TRW Automotive, Inc., ZF
8                                        North America, Inc., ZF TRW Automotive
9                                        Holdings Corp., ZF Active Safety and
                                         Electronics U.S. LLC, and ZF Passive
10                                       Safety Systems U.S. Inc.
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
